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 9                         IN THE UNITED STATES DISTRICT COURT
10                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                SAN FRANCISCO DIVISION
12

13     UNITED STATES OF AMERICA,               Case No.: CR 20-0116 MMC
14                   Plaintiff,                DEFENDANT’S SENTENCING
                                               MEMORANDUM
15            v.
                                               Court:   Hon. Maxine M. Chesney
16     OSMAN ARTEGA,
                                               Date:    March 24, 2021
17                   Defendant.
                                               Time:    3:00 p.m.
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 1                                             ARGUMENT
 2          Defendant Osman Artega (true last name “Arteaga”) is set for a combined change of
 3   plea and sentencing on March 24, 2021, pursuant to a plea agreement with the government.
 4   Consistent with that agreement, the Pre-Plea Presentence Report correctly calculates the
 5   advisory U.S. Sentencing Guideline range to be 12 to 18 months, and recommends a sentence
 6   12 months imprisonment at the low-end of the range. Mr. Arteaga is pleased to join this
 7   recommendation, with the slight amendment that the sentence be increased to 12 months and
 8   one day, to permit Mr. Arteaga to earn good-time credits while in BOP custody.
 9          As noted in the PSR, Mr. Arteaga has no prior criminal convictions of any kind,
10   although he does have several arrests that did not lead to convictions, as well as two pending
11   cases. PSR ¶¶ 24-35. Mr. Arteaga’s difficult upbringing is significant too:
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           Mr. Artega was raised by both of his parents in Tegucigalpa, Honduras. His
13         family lived in poverty and did not always have enough food to eat. Mr. Artega
14         dropped out of school when he was 16 years old because his family did not have
           enough money for him to continue his education subsequently began working in
15         the fields to support the family. . . . Mr. Artega was also severely beaten by
           thieves in Honduras three years ago and was hospitalized for three days after the
16         attack. He then moved to the United States out of fear of further violence.

17          PSR Recommendation at 1-2.

18          Although the gross quantity of the drugs involved in this case may seem slightly

19   elevated at first glance, they include the weight of the packaging and are totally consistent with

20   just street-level hand-to-hand sales. For these reasons, it is respectfully submitted that the

21   Court should sentence Mr. Arteaga to a term of imprisonment of 12 months and one day.

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23                                                         Respectfully submitted,

24            Dated: March 11, 2021                        GEOFFREY HANSEN
                                                           Acting Federal Public Defender
25                                                         Northern District of California

26                                                                   /S
                                                           DANIEL P. BLANK
27                                                         Assistant Federal Public Defender
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